Case 21-40512        Doc 16      Filed 04/18/21 Entered 04/18/21 23:41:30                Desc Imaged
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              INFORMATION FOR THE SECTION 341 MEETING OF CREDITORS

  Because of developing issues with the COVID-19 virus and the national declaration of
  emergency by the President of the United States, this § 341 Meeting of Creditors (“Meeting”) is
  to be conducted telephonically. The telephone call in number and participant code for the § 341
  Meeting of Creditors (“Meeting”) is set forth in the enclosed Notice.

  Dial-In Information:
  (1) You must use a touch-tone phone to participate.
  (2) Landline preferred. If you have a choice, use a landline phone, instead of a cell phone. Do
  not use a speaker phone.
  (3) Dial the call-in number and then enter the passcode, which consists of 7 numbers and is
  followed by a # sign. Immediately place your phone on mute.
  (4) Make the call from a quiet area where there is as little background noise as possible.
  (5) As more than one Meeting will be held during this period, listen for your case to be called.
  When your case is called, unmute your phone and identify yourself.
  (6) When speaking during your case, identify yourself.
  (7) Do not put the phone on hold at any time after the call is connected.
  (8) If any party is attending the Meeting from the same location as another party, use separate
  touch-tone phones to participate.
  (9) Once the case Meeting is finished, hang up.
  (10) If you become disconnected before your Meeting is finished, call back.

                                          Participant   Conference Line - Local   Conference Line
   Presiding Trustee                      Code          (Toll)                    (Toll Free)
   Trustee Line 1- Michelle Chow             1174871    517-224-3223              866-541-9301
   Trustee Line 2 - Linda Payne              6221451    517-268-7095              877-900-6448
   Trustee Line 3 - Mark Weisbart            6422968    203-280-5194              877-491-1721
   Trustee Line 4 - Diane Carter             2235728    210-453-4089              866-794-8448
   Trustee Line 5 - Chris Moser              8700433    203-607-6584              877-934-5488
   Trustee Line 6 - Joshua Searcy            7167901    517-600-9734              866-556-7968
   Trustee Line 7 - Steve Zayler             7135484    517-600-9814              866-621-9429
   Line 1 - Eastern District chapter 11      4489529    517-833-3942              877-647-7210

  Bankruptcy Documents:
  Debtors should have their bankruptcy documents available in the event there are questions about
  the information in the documents.
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                                                              United States Bankruptcy Court
                                                                 Eastern District of Texas
In re:                                                                                                                 Case No. 21-40512-btr
Trophy Hospitality, LLC                                                                                                Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0540-4                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Apr 16, 2021                                               Form ID: pdf400                                                           Total Noticed: 14
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 18, 2021:
Recip ID                 Recipient Name and Address
db                     + Trophy Hospitality, LLC, 3351 Waverly Drive, Celina, TX 75009-1501
cr                     + Bigs Investments Holdings, LLC, c/o Travis Richard, 5335 Spring Valley, Dallas, TX 75254-3009
cr                     + City of Frisco, Linebarger Goggan Blair & Sampson, LLP, c/o Laurie A. Spindler, 2777 N. Stemmons Frwy, Suite 1000 Dallas, TX
                         75207-2328
cr                     + Shiloh Oak Investment, LLC, c/o Travis Richard, 5335 Spring Valley, Dallas, TX 75254-3009
8028508                + Aramak Uniform Services, P.O. Box 731676, Dallas, TX 75373-1676
8028509                + Bigs Investment Holdings, LLC, c/o Travis Richard, 5335 Spring Valley, Dallas, TX 75254-3009
8028510                + Blue Star Frisco, LP, 8000 Warren Parkway, Building 1, Suite 100, Frisco, TX 75034-2231
8028741                + Frisco ISD, c/o Perdue Brandon Fielder et al, 1919 S. Shiloh Road, Suite 310, LB 40, Garland, TX 75042-8234
8028514                  Sani Servant, 3100 E Meadows, Mesquite, TX 75150
8028515                + Shiloh Oak Investment, LLC, c/o Travis Richard, 5335 Spring V alley, Dallas, TX 75254-3009
8028516                + Small Business Admin, PO Box 3918, Portland, OR 97208-3918
8028517                  Wade Electric, 7217 Parwelk, Dallas, TX 75235

TOTAL: 12

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
8028511                + Email/Text: bzern@celticbank.com
                                                                                        Apr 17 2021 02:06:00      Celtic Bank, 268 S State Street, Suite 300, Salt
                                                                                                                  Lake City, UT 84111-5314
8028513                   Email/Text: john@purelymeat.com
                                                                                        Apr 17 2021 02:03:00      Purely Meat Company, 4345 W Division, Chicago,
                                                                                                                  IL 60651

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Blue Star Frisco Retail, LLC
cr                             Fix A Drip
8028512                        Fix A Drip
cr               *+            Aramak Uniform Services, P.O. Box 731676, Dallas, TX 75373-1676
cr               *+            Blue Star Frisco, LP, 8000 Warren Parkway, Building 1, Suite 100, Frisco, TX 75034-2231
cr               *+            Celtic Bank, 268 S. State St., Ste. 300, Salt Lake City, UT 84111-5314
cr               *+            Frisco ISD, c/o Perdue Brandon Fielder et al, 1919 S. Shiloh Road, Suite 310, LB 40, Garland, TX 75042-8234
cr               *P++          PURELY MEAT COMPANY, 4345 W DIVISION STREET, CHICAGO IL 60651-1714, address filed with court:, Purely Meat
                               Company, 4345 W Division, Chicago, IL 60651
cr               *+            Small Business Admin, P.O. Box 3918, Portland, OR 97208-3918
cr               *             Wade Electric, 7217 Parwelk, Dallas, TX 75235

TOTAL: 3 Undeliverable, 7 Duplicate, 0 Out of date forwarding address
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                                                   Certificate of Notice Page 3 of 3
District/off: 0540-4                                              User: admin                                                            Page 2 of 2
Date Rcvd: Apr 16, 2021                                           Form ID: pdf400                                                      Total Noticed: 14

                                                  NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 18, 2021                                        Signature:          /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 16, 2021 at the address(es) listed below:
Name                             Email Address
Eric A. Liepins
                                 on behalf of Debtor Trophy Hospitality LLC eric@ealpc.com, martha@ealpc.com;r56883@notify.bestcase.com

John M. Vardeman
                                 on behalf of U.S. Trustee US Trustee john.m.vardeman@usdoj.gov

Laurie A. Spindler
                                 on behalf of Creditor City of Frisco laurie.spindler@lgbs.com Dora.Casiano-Perez@lgbs.com;dallas.bankruptcy@lgbs.com

Linda Reece
                                 on behalf of Creditor Frisco ISD lreece@pbfcm.com

Michael D. Warner
                                 on behalf of Creditor Blue Star Frisco Retail LLC mwarner@pszjlaw.com, klabrada@pszjlaw.com

Scott SEIDEL (SBRA V)
                                 scott@scottseidel.com susan@scottseidel.com;csms11@trustesolutions.net


TOTAL: 6
